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                          N THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION

UNITED STATES OF AMERICA                            )



                                                    )


       vs.                                          )
                                                               DOCKET NO. 2:14CR00012-5
                                                    )


RECARDO M. HARRIS                                   )


aka "Reco," aka "Cardo"                             )




       On June 12, 2014, the Court sentenced the Defendant to 96 months in the custody of the

Bureau of Prisons, 1 year of supervised release, and a $200 special assessment. On

August 5, 2015, the United States Attorney for the Southern District of Georgia filed a motion for

reduction of sentence, pursuant to Federal Rules of Criminal Procedure 35(b).

       Upon receiving and reviewing the motion, the Court heard from the Government's

attorney, the Defendant's counsel, and the United States Probation Office on the issue of the

Defendant's substantial assistance. All relevant issues and information were discussed, and the

Court found no need for the Defendant to be present for a hearing on the matter.

       The Government's motion pursuant to Federal Rules of Criminal Procedure 35(b) for a

reduction of the sentence of imprisonment imposed in the Defendant's case is hereby GRANTED.

       It is the judgment of this Court that the sentence of imprisonment imposed on

June 12, 2014, is hereby reduced from 96 months to 86 months. All other terms and conditions

shall remain in effect as originally imposed on June 1n

       SO ORDERED this         -   ~4   __   day of Augu t




                                                        LI$MIODBEY WOOD, CHIEF JUDGE
                                                        UNITED STATES DISTRICT COURT
                                                        SOUTHERN DISTRICT OF GEORGIA
